               Case 01-01139-AMC      Doc 21069-2      Filed 03/23/09     Page 1 of 5

                 IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF DELAWARE
_______________________________________
                                        )
In re:                                  ) Chapter 11
                                        )
W.R. GRACE & CO., et al.,               ) Case No. 01-01139 (JKF)
                                        ) (Jointly Administered)
                                        )
                  Debtors.              )
_______________________________________)

                          NOTICE OF SERVICE OF DISCOVERY

          PLEASE TAKE NOTICE that on March 23, 2009, a copy of the Objections and

Responses of the Official Committee of Unsecured Creditors to Debtors’ Interrogatory and

Request for the Production of Documents was served on the individuals identified on the

Certificate of Service attached hereto in the manner indicated therein.

Dated March 23, 2009
                                             STROOCK & STROOCK & LAVAN LLP
                                             Lewis Kruger
                                             Kenneth Pasquale
                                             (Members of the Firm)
                                             180 Maiden Lane
                                             New York, New York 10038-4982
                                             Tel: (212) 806-5400

                                             and

                                             DUANE MORRIS LLP

                                                     /s/
                                             Michael R. Lastowski (DE I.D. 3892)
                                             Richard W. Riley (DE I.D. 4052)
                                             William S. Katchen
                                             1100 North Market Street, Suite 1200
                                             Wilmington, Delaware 19801-1246
                                             Tel: (302) 657-4942

                                             Counsel to the Official Committee
                                             of Unsecured Creditors




DM3\954524.1
               Case 01-01139-AMC         Doc 21069-2      Filed 03/23/09     Page 2 of 5

                 IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF DELAWARE
_______________________________________
                                        )
In re:                                  ) Chapter 11
                                        )
W.R. GRACE & CO., et al.,               ) Case No. 01-01139 (JKF)
                                        ) (Jointly Administered)
                                        )
                  Debtors.              )
_______________________________________)

                                   CERTIFICATE OF SERVICE

          I, Adrian C. Maholchic, certify that I am not less than 18 years of age, and that service of

a copy of the Objections and Responses of the Official Committee of Unsecured Creditors to

Debtors’ Interrogatory and Request for the Production of Documents was made on

March 23, 2009 upon the individuals identified on the attached Service List in the manner

indicated.

          Under penalty of perjury, I declare the foregoing is true and correct.



Dated: March 23, 2009                           /s/ Adrian C. Maholchic
       Wilmington, Delaware                     Adrian C. Maholchic
                                                DUANE MORRIS LLP
                                                30 South 17th Street
                                                Philadelphia, PA 19103
                                                Telephone:     (302) 657-4924
                                                Facsimile:     (215) 689-4928
                                                E-mail:        acmaholchic@duanemorris.com




DM3\954524.1
               Case 01-01139-AMC   Doc 21069-2     Filed 03/23/09   Page 3 of 5




Via Email Delivery and First Class Mail          Via Email Delivery and First Class Mail
(Counsel to the Debtors                          (Counsel to Official Committee of
and Debtors in Possession)                       Unsecured Creditors)
Laura Davis Jones, Esquire                       Arlene Krieger, Esquire
James E. O’Neil, Esquire                         Lewis Kruger, Esquire
Kathleen P. Makowski, Esquire                    Ken Pasquale, Esquire
Timothy P. Cairns, Esquire                       Stroock & Stroock & Lavan LLP
Pachulski Stang Ziehl & Jones LLP                180 Maiden Lane
919 North Market Street, 17th Floor              New York, NJ 10038-4982
P.O. Box 8705                                    akrieger@stroock.com
Wilmington, DE 19899-8705                        lkruger@stroock.com
ljones@pszjlaw.com                               kpasquale@stroock.com
joneill@pszjlaw.com
kmakowski@pszjlaw.com                            Via Email Delivery and First Class Mail
tcairns@pszjlaw.com                              (Counsel to the Bank Lenders)
                                                 Andrew N. Rosenberg, Esquire
Via Email Delivery                               Stephen J. Shimshak, Esquire
(Counsel to Equity Committee)                    Margaret A. Phillips, Esquire
Teresa K.D. Currier, Esquire                     Rebecca R. Zubaty, Esquire
Buchanan Ingersoll & Rooney PC                   Paul, Weiss, Rifkind, Wharton & Garrison
The Brandywine Building                          LLP
1000 West Street, Suite 1410                     1285 Avenue of the Americas
Wilmington, DE 19801-1054                        New York, NY 10019-6064
teresa.currier@bipc.com                          arosenberg@paulweiss.com
                                                 sshimshak@paulweiss.com
Via Email Delivery and First Class Mail          mphillips@paulweiss.com
(Counsel to Bank Lenders)                        rzubaty@paulweiss.com
Richard S. Cobb, Esquire
Jim Green, Esquire                               Via Email Delivery and First Class Mail
Landis Rath & Cobb LLP                           (Counsel to Equity Committee)
919 Market Street, Suite 600                     Philip Bentley, Esquire
P.O. Box 2087                                    Kramer Levin Naftalis & Frankel LLP
Wilmington, DE 19899                             1177 Avenue of the Americas
cobb@lrclaw.com                                  New York, NY 10036
green@lrclaw.com                                 pbentley@kramerlevin.com

                                                 Via Email Delivery and First Class Mail
                                                 (Counsel to the Official Committee of
                                                 Property Damages Claimants)
                                                 Scott L. Baena, Esquire
                                                 Bilzin Sumberg, Dunn, Baena,
                                                 Price & Axelrod
                                                 200 S. Biscayne Boulevard, Suite 2500
                                                 Miami, FL 33131-5340
                                                 sbaena@bilzin.com




DM3\954524.1
               Case 01-01139-AMC   Doc 21069-2     Filed 03/23/09   Page 4 of 5




Via Email Delivery and First Class Mail          Via Email Delivery and First Class Mail
(Counsel to the Official Committee of            (Counsel to David T. Austern,
Property Damages Claimants)                      Future Claimant’s Representative)
Michael B. Joseph, Esquire                       Debra L. Felder, Esquire
Ferry & Joseph                                   Orrick Harrington & Sutcliffe, LLP
824 Market Street, Suite 904                     Columbia Center
P.O. Box 1351                                    1152 15th Street, N.W.
Wilmington, DE 19899                             Washington, D.C. 20005-1706
mjoseph@ferryjoseph.com                          dfelder@orrick.com

Via Email Delivery and First Class Mail          Via Email Delivery and First Class Mail
(Counsel to the Official Committee of            (Counsel to Official Committee of Asbestos
Personal Injury Claimants)                       Personal Injury Claimants)
Elihu Inselbuch, Esquire                         Robert Horkovich, Esquire
Caplin & Drysdale                                Robert Chung, Esquire
375 Park Avenue                                  Anderson, Kill & Olick, P.C.
New York, NY 10152                               1251 Avenue of the Americas
ei@capdale.com                                   New York, NY 10020-1182
                                                 rhorkovich@andersonkill.com
                                                 rchung@andersonkill.com
Via Email Delivery and First Class Mail
(Counsel to the Official Committee of            Via Email Delivery and First Class Mail
Personal Injury Claimants)                       (Counsel to Debtors)
Marla Rosoff Eskin, Esquire                      David M. Bernick, Esquire
Campbell & Levine, LLC                           Janet S. Baer, Esquire
800 N. King Street, #300                         Lisa Esayian, Esquire
Wilmington, DE 19801                             Kirkland & Ellis LLP
meskin@camlev.com                                200 East Randolph Drive
                                                 Chicago, IL 60601
Via Email Delivery and First Class Mail          dbernick@kirkland.com
(Counsel to David T. Austern,                    jbaer@kirkland.com
Future Claimant’s Representative)                lesayian@kirkland.com
John C. Phillips, Jr., Esquire
Phillips Goldman & Spence                        Via Email Delivery and First Class Mail
1200 North Broom Street                          (Counsel to Official Committee of Asbestos
Wilmington, DE 19806                             Personal Injury Claimants)
jcp@pgslaw.com                                   Peter Lockwood, Esquire
                                                 Nathan D. Finch, Esquire
                                                 Caplin & Drysdale, Chartered
                                                 One Thomas Circle, NW, Suite 1100
                                                 Washington, DC 20005
                                                 pvn@capdale.com
                                                 ndf@capdale.com




DM3\954524.1
               Case 01-01139-AMC   Doc 21069-2   Filed 03/23/09   Page 5 of 5




Via Email Delivery and First Class Mail
(Counsel to Asbestos PD Future Claimants’
Representative)
Alan B. Rich, Esquire
One Main Place
1201 Main Street, Suite 1910
LB 201
Dallas, TX 75202
arich@alanrichlaw.com




DM3\954524.1
